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 1                           IN THE UNITED STATES DISTRICT COURT

 2                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 3
     UNITED STATES OF AMERICA                                 Case No. 07-CR-165 LKK
 4

 5            v.                                              ORDER FOR ISSUANCE OF
                                                              SUBPOENAS ON BEHALF OF
 6                                                            INDIGENT DEFENDANT
     DARIUS LOUIS
 7                                                            Trial Date: February 23, 2010

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                                                     ORDER
11
            After due consideration of the ex parte request of defendant Darius Louis the court finds
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     that he is unable to pay the process costs and witness fees required for the procurement of
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     witnesses necessary to afford him an adequate defense. Therefore,
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            IT IS HEREBY ORDERED THAT the United States Marshals serve subpoenas on the
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     witnesses defendant Darius Louis intends to call in his defense in this case.
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     Dated: January 15, 2010
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28                              U.S. v. DARIUS LOUIS: Order For Issuance of Subpoenas
